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                                                                    January 17, 2023
 Via ECF
 Hon. Lee G. Dunst, U.S.M.J.
 United States District Court
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, NY 11201

 Re: Agudelo v. Recovco Mortgage Management LLC et al., No. 22 Civ. 4004
 Update to the Court

 Dear Judge Dunst:

        The parties write pursuant to the Court’s December 2, 2022, direction to provide the Court
 with an update on the status of the above-captioned matter.

        History of Settlement Discussions

         The parties first discussed settlement on August 26, 2022, and agreed that in order for
 Plaintiffs to convey a meaningful settlement demand, Defendants would need to produce certain
 payroll and other financial documents. Plaintiffs’ counsel provided defense counsel a set of
 informal discovery requests on August 30, 2022. Defendants produced payroll documents on
 September 27, 2022, and Plaintiffs shared their draft damages calculation with Defendants on
 October 26, 2022.

        Defendants further produced corporate financial documents on October 14, 2022, and
 produced documents concerning the assets of Defendant Michael Strauss on a rolling basis during
 November and December 2022.

        On November 28, 2022, Defendants conveyed an all-inclusive offer of settlement.
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        Current Status

         On November 17, 2022, Plaintiffs retained Richard Barber, CPA, an experienced forensic
 accountant, to review and opine on all financial documents that had been produced by Defendants.
 Mr. Barber required additional documents to offer an informed opinion on Defendants’ financial
 status, and Plaintiffs made several additional document requests which were partially fulfilled by
 Defendants. Mr. Barber’s review and analysis was finished on or about January 5, 2023.

        Following Plaintiffs’ review of financial documents produced by Defendants and Mr.
 Barber’s extensive analysis, Plaintiffs provided portions of their analysis to Defendants on January
 11, 2023. The parties have agreed to meet in person to further discuss a potential settlement1 on
 Thursday, January 19, 2023.

        The parties request to provide another update to the Court on Tuesday, January 24, 2023.


                                                           Respectfully submitted,

                                                           /s/ Brenna Rabinowitz
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 cc: All counsel (by ECF)




 1 Plaintiffs have entered a Joint Prosecution Agreement for purposes of the instant settlement
 discussions with counsel for the proposed classes in Boyer v. Sprout, Recovco, & Strauss, Case
 No. 37-2022-00029036-CU-OE-CTL pending in California Superior Court, San Diego County;
 and Sawyer and Harvey v. Sprout, Recovco, Strauss & Pallante, Case No. 30-2022-01271017-
 CU-OE-CXC, pending in California Superior Court, Orange County (together, the “California
 Actions.”). It is anticipated that any settlement reached at this stage of the proceedings would
 universally settle all claims asserted in the instant proceeding and the California Actions.
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